            Case 2:06-cr-00198-RSL       Document 4      Filed 06/12/06    Page 1 of 2




 1
 2
 3
 4
 5                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE
 7
 8 UNITED STATES OF AMERICA, )
                                 )
 9                   Plaintiff,  )               CASE NO.      06-300M
                                 )
10         v.                    )
                                 )
11                               )               DETENTION ORDER
    JOSE MANUEL NAMBO-SILVA, )
12                               )
                Defendant.       )
13 ______________________________)
14 Offense charged:
15            Conspiracy to Heroin, Methamphetamine and Cocaine
16 Date of Detention Hearing: June 9, 2006
17            The Court, having conducted an uncontested detention hearing pursuant to Title
18 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
19 detention hereafter set forth, finds that no condition or combination of conditions which the
20 defendant can meet will reasonably assure the appearance of the defendant as required and
21 the safety of any other person and the community. The Government was represented by
22 Todd Greenberg. The defendant was represented by Michele Shaw.
23        FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24            (1)    There is probable cause to believe the defendant committed the drug
25                   offense. The maximum penalty is in excess of ten years. There is
26                   therefore a rebuttable presumption against the defendant’s release based

     DETENTION ORDER
     PAGE -1-
         Case 2:06-cr-00198-RSL      Document 4       Filed 06/12/06    Page 2 of 2




 1               upon both dangerousness and flight risk, under Title 18 U.S.C. §
 2               3142(e).
 3         (2)   Defendant stipulates to detention due in part to the placement of an ICE
 4               detainer.
 5         (3)   Based upon the foregoing information, it appears that there is no
 6               condition or combination of conditions that would reasonably assure
 7               future Court appearances and/or the safety of other persons or the
 8               community.
 9         It is therefore ORDERED:
10         (l)   The defendant shall be detained pending trial and committed to the
11               custody of the Attorney General for confinement in a correction facility
12               separate, to the extent practicable, from persons awaiting or serving
13               sentences or being held in custody pending appeal;
14         (2)   The defendant shall be afforded reasonable opportunity for private
15               consultation with counsel;
16         (3)   On order of a court of the United States or on request of an attorney for
17               the Government, the person in charge of the corrections facility in which
18               the defendant is confined shall deliver the defendant to a United States
19               Marshal for the purpose of an appearance in connection with a court
20               proceeding; and
21         (4)   The clerk shall direct copies of this order to counsel for the United
22               States, to counsel for the defendant, to the United States Marshal, and to
23               the United States Pretrial Services Officer.


                                                    A
24         DATED this 12th day of June, 2006.
25
                                                    MONICA J. BENTON
26                                                  United States Magistrate Judge

     DETENTION ORDER
     PAGE -2-
